            Case 3:17-cv-01078-VAB Document 1 Filed 06/29/17 Page 1 of 15



                             UNITED STATES DISTRICT COURT
                               DISTRICT OF CONNECTICUT

GORSS MOTELS, INC., a Connecticut                  )
corporation, individually and as the               )
representative of a class of similarly-            )
situated persons,                                  )
                                                   )
                       Plaintiff,                  )
                                                   )     Civil Action No.
                v.                                 )
                                                   )     CLASS ACTION
A.V.M. ENTERPRISES, INC., a Tennessee              )
corporation, and JOHN DOES 1-5,                    )
                                                   )
                       Defendants.                 )

                                 CLASS ACTION COMPLAINT

       1.       Plaintiff, GORSS MOTELS, INC. (“Plaintiff”), brings this action on behalf of

itself and all others similarly situated, through its attorneys, and except as to those allegations

pertaining to Plaintiff or its attorneys, which allegations are based upon personal knowledge,

alleges the following upon information and belief against Defendants, A.V.M. ENTERPRISES,

INC. and JOHN DOES 1-5 (“Defendants”):

                                    PRELIMINARY STATEMENT

       2.       This case challenges Defendants’ practice of sending unsolicited facsimiles.

       3.       The federal Telephone Consumer Protection Act of 1991, as amended by the Junk

Fax Prevention Act of 2005, 47 USC § 227 (“JFPA” or the “Act”), and the regulations

promulgated under the Act, prohibit a person or entity from faxing or having an agent fax

advertisements without the recipient’s prior express invitation or permission. The JFPA provides

a private right of action and provides for injunctive relief and statutory damages of $500 per

violation. Connecticut law, Conn. Gen. Stat. § 52-570c, provides a similar private right of action.
             Case 3:17-cv-01078-VAB Document 1 Filed 06/29/17 Page 2 of 15



Upon information and belief, Defendants have sent facsimile transmissions of unsolicited

advertisements to Plaintiff and the Class in violation of the JFPA, including, but not limited to,

the facsimile transmission of five unsolicited advertisements on or about June 15, 2015, June 23,

2015, July 15, 2015, October 19, 2015 and May 16, 2016 (“the Faxes”), true and correct copies

of which are attached hereto as Exhibit A, and made a part hereof. The Faxes describe the

commercial availability or quality of Defendants’ products, goods and services. Plaintiff is

informed and believes, and upon such information and belief avers, that Defendants have sent,

and continue to send, unsolicited advertisements via facsimile transmission in violation of the

JFPA and Conn. Gen. Stat. § 52-570c, including but not limited to those advertisements sent to

Plaintiff.

        4.       Unsolicited faxes damage their recipients. A junk fax recipient loses the use of its

fax machine, paper, and ink toner. An unsolicited fax wastes the recipient’s valuable time that

would have been spent on something else. A junk fax interrupts the recipient’s privacy.

Unsolicited faxes prevent fax machines from receiving authorized faxes, prevent their use for

authorized outgoing faxes, cause undue wear and tear on the recipients’ fax machines, and

require additional labor to attempt to discern the source and purpose of the unsolicited message.

        5.       On behalf of itself and all others similarly situated, Plaintiff brings this case as a

class action asserting claims against Defendants under the JFPA and Conn. Gen. Stat. § 52-570c.

Plaintiff seeks to certify a class including faxes sent to Plaintiff and other advertisements sent

without proper opt-out language or without prior express invitation or permission, whether sent

to Plaintiff or not.

        6.       Plaintiff is informed and believes, and upon such information and belief avers,

that this action is based upon a common nucleus of operative facts because the facsimile

transmissions at issue were and are being done in the same or similar manner. This action is

                                                    2
              Case 3:17-cv-01078-VAB Document 1 Filed 06/29/17 Page 3 of 15



based on the same legal theory, namely liability under the JFPA and Conn. Gen. Stat. § 52-570c.

This action seeks relief expressly authorized by the JFPA and Conn. Gen. Stat. § 52-570c : (i)

injunctive relief enjoining Defendants, their employees, agents, representatives, contractors,

affiliates, and all persons and entities acting in concert with them, from sending unsolicited

advertisements in violation of the JFPA; and (ii) an award of statutory damages in the minimum

amount of $500 for each violation of the JFPA and Conn. Gen. Stat. § 52-570c, and to have such

damages trebled, as provided by § 227(b)(3) of the JFPA.

                                  JURISDICTION AND VENUE

         7.       This Court has subject matter jurisdiction under 28 U.S.C. § 1331 and 47 U.S.C.

§ 227.

         8.       This Court has supplemental jurisdiction under 28 U.S.C. § 1367(a) over claims

under Conn. Gen. Stat. § 52-570c.

         9.       This Court has personal jurisdiction over Defendants because Defendants transact

business within this judicial district, have made contacts within this judicial district, and/or have

committed tortious acts within this judicial district.

         10.      Venue is this judicial district is proper under 28 U.S.C. §§ 1391(b)(2) because

this is the judicial district in which a substantial part of the events or omissions giving rise to

the claims in this case occurred.

                                             PARTIES

         11.      Plaintiff, GORSS MOTELS, INC., is a Connecticut corporation.

         12.      On information and belief, Defendant A.V.M. ENTERPRISES, INC. is a

Tennessee corporation.




                                                  3
             Case 3:17-cv-01078-VAB Document 1 Filed 06/29/17 Page 4 of 15



       13.       JOHN DOES 1-5 will be identified through discovery, but are not presently

known.

                                               FACTS

       14.       On information and belief, on or about June 15, 2015, June 23, 2015, July 15,

2015, October 19, 2015 and May 16, 2016, Defendants used a telephone facsimile machine,

computer, or other device to send five unsolicited facsimiles to Plaintiff. Copies of the facsimiles

are attached hereto as Exhibit A.

       15.       On information and belief, Defendants receive some or all of the revenues from

the sale of the products, goods and services advertised on Exhibit A, and Defendants profit and

benefit from the sale of the products, goods and services advertised on Exhibit A.

       16.       Plaintiff did not give prior express invitation or permission to Defendants to send

the faxes.

       17.       On information and belief, Defendants faxed the same and other unsolicited

facsimiles with opt-out language identical or substantially similar to the opt-out language of the

fax advertisement attached hereto as Exhibit A to Plaintiff and at least 40 other recipients or sent

the same and other advertisements by fax with the required opt-out language but without first

receiving the recipients’ express invitation or permission and without having an established

business relationship as defined by the TCPA and its regulations.

       18.       There is no reasonable means for Plaintiff (or any other class member) to avoid

receiving unauthorized faxes. Fax machines are left on and ready to receive the urgent

communications their owners desire to receive.

       19.       Defendants facsimiles attached s Exhibit A do not display a proper opt-out notice

as required by 47 C.F.R. § 64.1200.




                                                  4
         Case 3:17-cv-01078-VAB Document 1 Filed 06/29/17 Page 5 of 15



                              CLASS ACTION ALLEGATIONS

       20.     In accordance with Fed. R. Civ. P. 23(b)(1), (b)(2) and (b)(3), Plaintiff brings this

class action pursuant to the JFPA and Conn. Gen. Stat. § 52-570c, on behalf of the following

classes of persons:

               Class A:

               All persons who (1) on or after four years prior to the filing of this
               action, (2) were sent telephone facsimile messages of material
               advertising the commercial availability or quality of any property,
               goods, or services by or on behalf of Defendants, (3) from whom
               Defendants did not obtain “prior express invitation or permission”
               to send fax advertisements, or (4) with whom defendants did not
               have an established business relationship, or (5) where the fax
               advertisements did not include an opt-out notice compliant with 47
               C.F.R. § 64.1200(a)(4)(iii).

               Class B:

               All persons in the State of Connecticut to whom, from two years
               prior to the date of the filing of the instant Complaint to the
               present, Defendants sent or caused to be sent unsolicited
               advertising material by facsimile.

Excluded from the Classes are the Defendants, their officers, directors, employees and agents,

and members of the Judiciary. Plaintiff seeks to certify classes which include but are not limited

to the fax advertisements sent to Plaintiff. Plaintiff reserves the right to amend the class

definitions upon completion of class certification discovery.

       21.     Class Size (Fed. R. Civ. P. 23(a)(1)): Plaintiff is informed and believes, and upon

such information and belief avers, that the number of persons and entities of the Plaintiff Classes

is numerous and joinder of all members is impracticable. Plaintiff is informed and believes, and

upon such information and belief avers, that the number of class members is at least forty.




                                                 5
          Case 3:17-cv-01078-VAB Document 1 Filed 06/29/17 Page 6 of 15



       22.     Commonality (Fed. R. Civ. P. 23 (a) (2)): Common questions of law and fact

apply to the claims of all class members. Common material questions of fact and law include, but

are not limited to, the following:

               (a)     Whether the Defendants sent unsolicited fax advertisements;

               (b)     Whether Defendants’ faxes sent to other persons, not the Plaintiff,

       constitute advertisements;

               (c)     Whether the Defendants’ faxes advertised the commercial availability or

       quality of property, goods, or services;

               (d)     The manner and method the Defendants used to compile or obtain the list

       of fax numbers to which they sent Exhibit A, other unsolicited faxed advertisements or

       other advertisements without the required opt-out language;

               (e)     Whether the Defendants faxed advertisements without first obtaining the

       recipient's prior express invitation or permission;

               (f)     Whether the Defendants sent the fax advertisements knowingly;

               (g)     Whether the Defendants violated the provisions of 47 U.S.C. § 227 and

       the regulations promulgated thereunder and Conn. Gen. Stat. § 52-570c;

               (h)     Whether the faxes contain an “opt-out notice” that complies with the

       requirements of § (b)(1)(C)(iii) of the JFPA, and the regulations promulgated thereunder,

       and the effect of the failure to comply with such requirements;

               (i)     Whether the Defendants should be enjoined from faxing advertisements in

       the future;

               (j)     Whether the Plaintiff and the other members of the class are entitled to

       statutory damages; and

               (k)     Whether the Court should award treble damages.

                                                  6
          Case 3:17-cv-01078-VAB Document 1 Filed 06/29/17 Page 7 of 15



        23.    Typicality (Fed. R. Civ. P. 23 (a) (3)): The Plaintiff's claims are typical of the

claims of all class members. The Plaintiff received the same or similar faxes as the faxes sent by

or on behalf of the Defendants advertising products, goods and services of the Defendants during

the Class Period. The Plaintiff is making the same claims and seeking the same relief for itself

and all class members based upon the same federal statute. The Defendants have acted in the

same or in a similar manner with respect to the Plaintiff and all the class members by sending

Plaintiff and each member of the classes the same or similar faxes or faxes which did not contain

the proper opt-out language or were sent without prior express invitation or permission.

        24.    Fair and Adequate Representation (Fed. R. Civ. P. 23 (a) (4)): The Plaintiff will

fairly and adequately represent and protect the interests of the class members. It is interested in

this matter, has no conflicts, and has retained experienced class counsel to represent the class.

        25.    Need for Consistent Standards and Practical Effect of Adjudication (Fed. R. Civ.

P. 23 (b) (1)): Class certification is appropriate because the prosecution of individual actions by

class members would: (a) create the risk of inconsistent adjudications that could establish

incompatible standards of conduct for the Defendants, and/or (b) as a practical matter,

adjudication of the Plaintiff's claims will be dispositive of the interests of class members who are

not parties.

        26.    Common Conduct (Fed. R. Civ. P. 23 (b) (2)):             Class certification is also

appropriate because the Defendants have acted in the same or similar manner with respect to all

class members thereby making injunctive and declaratory relief appropriate. The Plaintiff

demands such relief as authorized by 47 U.S.C. § 227 and Conn. Gen. Stat. § 52-570c.

        27.    Predominance and Superiority (Fed. R. Civ. P. 23 (b) (3)): Common questions of

law and fact predominate over any questions affecting only individual members, and a class




                                                 7
           Case 3:17-cv-01078-VAB Document 1 Filed 06/29/17 Page 8 of 15



action is superior to other methods for the fair and efficient adjudication of the controversy

because:

               (a)    Proof of the claims of the Plaintiff will also prove the claims of the class

       without the need for separate or individualized proceedings;

               (b)    Evidence regarding defenses or any exceptions to liability that the

       Defendants may assert and attempt to prove will come from the Defendants’ records and

       will not require individualized or separate inquiries or proceedings;

               (c)    The Defendants have acted and are continuing to act pursuant to common

       policies or practices in the same or similar manner with respect to all class members;

               (d)    The amount likely to be recovered by individual class members does not

       support individual litigation. A class action will permit a large number of relatively small

       claims involving virtually identical facts and legal issues to be resolved efficiently in one

       proceeding based upon common proofs; and

               (e)    This case is inherently manageable as a class action in that:

                      (i)     The Defendants identified persons to receive the fax transmissions

               and it is believed that the Defendants’ and/or Defendants’ agents’ computers and

               business records will enable the Plaintiff to readily identify class members and

               establish liability and damages;

                      (ii)    Liability and damages can be established for the Plaintiff and the

               class members with the same common proofs;

                      (iii)   Statutory damages are provided for in the statute and are the same

               for all class members and can be calculated in the same or a similar manner;

                      (iv)    A class action will result in an orderly and expeditious

               administration of claims and it will foster economics of time, effort and expense;

                                                  8
          Case 3:17-cv-01078-VAB Document 1 Filed 06/29/17 Page 9 of 15



                       (v)    A class action will contribute to uniformity of decisions

               concerning the Defendants’ practices; and

                       (vi)   As a practical matter, the claims of the classes are likely to go

               unaddressed absent class certification.

              Claim for Relief for Violation of the JFPA, 47 U.S.C. § 227 et seq.

       28.     The JFPA makes it unlawful for any person to “use any telephone facsimile

machine, computer or other device to send, to a telephone facsimile machine, an unsolicited

advertisement . . . .” 47 U.S.C. § 227(b)(1)(C).

       29.     The JFPA defines “unsolicited advertisement” as “any material advertising the

commercial availability or quality of any property, goods, or services which is transmitted to any

person without that person's prior express invitation or permission, in writing or otherwise.”

47 U.S.C. § 227 (a) (5).

       30.     Opt-Out Notice Requirements. The JFPA strengthened the prohibitions against

the sending of unsolicited advertisements by requiring, in § (b)(1)(C)(iii) of the Act, that senders

of faxed advertisements place a clear and conspicuous notice on the first page of the transmission

that contains the following among other things (hereinafter collectively the “Opt-Out Notice

Requirements”):

               (1)     A statement that the recipient is legally entitled to opt-out of receiving

       future faxed advertisements – knowing that he or she has the legal right to request an opt-

       out gives impetus for recipients to make such a request, if desired;

               (2)     A statement that the sender must honor a recipient’s opt-out request within

       30 days and the sender’s failure to do so is unlawful – thereby encouraging recipients to

       opt-out, if they did not want future faxes, by advising them that their opt-out requests will

       have legal “teeth”;

                                                   9
        Case 3:17-cv-01078-VAB Document 1 Filed 06/29/17 Page 10 of 15



              (3)     A statement advising the recipient that he or she may opt-out with respect

       to all of his or her facsimile telephone numbers and not just the ones that receive a faxed

       advertisement from the sender – thereby instructing a recipient on how to make a valid

       opt-out request for all of his or her fax machines;

              (4)     The opt-out language must be conspicuous.

       The requirement of (1) above is incorporated from § (b)(D)(ii) of the Act. The

requirement of (2) above is incorporated from § (b)(D)(ii) of the Act and the rules and

regulations of the Federal Communications Commission (the “FCC”) in ¶ 31 of its 2006 Report

and Order (In the Matter of Rules and Regulations Implementing the Telephone Consumer

Protection Act, Junk Prevention Act of 2005, 21 F.C.C.R. 3787, 2006 WL 901720, which rules

and regulations took effect on August 1, 2006). The requirements of (3) above are contained in

§ (b)(2)(E) of the Act and incorporated into the Opt-Out Notice Requirements via § (b)(2)(D)(ii).

Compliance with the Opt-Out Notice Requirements is neither difficult nor costly. The Opt-Out

Notice Requirements are important consumer protections bestowed by Congress upon the

owners of the telephone lines and fax machines giving them the right, and means, to stop

unwanted faxed advertisements.

       31.    2006 FCC Report and Order. The JFPA, in § (b)(2) of the Act, directed the

FCC to implement regulations regarding the JFPA, including the JFPA’s Opt-Out Notice

Requirements and the FCC did so in its 2006 Report and Order, which in addition provides

among other things:

              A.      The definition of, and the requirements for, an established business

       relationship for purposes of the first of the three prongs of an exemption to liability under

       § (b)(1)(C)(i) of the Act and provides that the lack of an “established business




                                                10
         Case 3:17-cv-01078-VAB Document 1 Filed 06/29/17 Page 11 of 15



       relationship” precludes the ability to invoke the exemption contained in § (b)(1)(C) of the

       Act (See 2006 Report and Order ¶¶ 8-12 and 17-20);

               B.     The required means by which a recipient’s facsimile telephone number

       must be obtained for purposes of the second of the three prongs of the exemption under §

       (b)(1)(C)(ii) of the Act and provides that the failure to comply with these requirements

       precludes the ability to invoke the exemption contained in § (b)(1)(C) of the Act (See

       2006 Report and Order ¶¶ 13-16);

               C.     The things that must be done in order to comply with the Opt-Out Notice

       Requirements for the purposes of the third of the three prongs of the exemption under §

       (b)(1)(C)(iii) of the Act and provides that the failure to comply with these requirements

       precludes the ability to invoke the exemption contained in § (b)(1)(C) of the Act (See

       2006 Report and Order ¶¶ 24-34);

               D.     The failure of a sender to comply with the Opt-Out Notice Requirements

       precludes the sender from claiming that a recipient gave “prior express invitation or

       permission” to receive the sender’s fax (See Report and Order ¶ 48).

       As a result thereof, a sender of a faxed advertisement who fails to comply with the Opt-

Out Notice Requirements has, by definition, transmitted an unsolicited advertisement under the

JFPA. This is because such a sender can neither claim that the recipients of the faxed

advertisement gave “prior express invitation or permission” to receive the fax nor can the sender

claim the exemption from liability contained in § (b)(C)(1) of the Act.

       32.     The Faxes. Defendants sent the advertisements on or about June 15, 2015,

June 23, 2015, July 15, 2015, October 19, 2015 and May 16, 2016, via facsimile transmission

from telephone facsimile machines, computers, or other devices to the telephone lines and

facsimile machines of Plaintiff and members of the Plaintiff Class. The Faxes constituted

                                                11
         Case 3:17-cv-01078-VAB Document 1 Filed 06/29/17 Page 12 of 15



advertisements under the Act. Defendants failed to comply with the Opt-Out Requirements in

connection with the Faxes. The Faxes were transmitted to persons or entities without their prior

express invitation or permission and/or Defendants are precluded from asserting any prior

express invitation or permission or that Defendants had an established business relationship with

Plaintiff and other members of the class, because of the failure to comply with the Opt-Out

Notice Requirements. By virtue thereof, Defendants violated the JFPA and the regulations

promulgated thereunder by sending the Faxes via facsimile transmission to Plaintiff and

members of the Class. Plaintiff seeks to certify a class which includes these faxes and all others

sent during the four years prior to the filing of this case through the present.

       33.     Defendants’ Other Violations. Plaintiff is informed and believes, and upon such

information and belief avers, that during the period preceding four years of the filing of this

Complaint and repeatedly thereafter, Defendants have sent via facsimile transmission from

telephone facsimile machines, computers, or other devices to telephone facsimile machines of

members of the Plaintiff Class other faxes that constitute advertisements under the JFPA that

were transmitted to persons or entities without their prior express invitation or permission

(and/or that Defendants are precluded from asserting any prior express invitation or permission

or that Defendants had an established business relationship because of the failure to comply with

the Opt-Out Notice Requirements in connection with such transmissions). By virtue thereof,

Defendants violated the JFPA and the regulations promulgated thereunder. Plaintiff is informed

and believes, and upon such information and belief avers, that Defendants may be continuing to

send unsolicited advertisements via facsimile transmission in violation of the JFPA, and absent

intervention by this Court, will do so in the future.

       34.     The TCPA/JFPA provides a private right of action to bring this action on behalf

of Plaintiff and the Plaintiff Class to redress Defendants’ violations of the Act, and provides for

                                                  12
         Case 3:17-cv-01078-VAB Document 1 Filed 06/29/17 Page 13 of 15



statutory damages. 47 U.S.C. § 227(b)(3). The Act also provides that injunctive relief is

appropriate. Id.

       35.     The JFPA is a strict liability statute, so the Defendants are liable to the Plaintiff

and the other class members even if their actions were only negligent.

       36.     The Defendants knew or should have known that (a) the Plaintiff and the other

class members had not given prior express invitation or permission for the Defendants or

anybody else to fax advertisements about the Defendants’ products, goods or services; (b) the

Plaintiff and the other class members did not have an established business relationship;

(c) Defendants transmitted advertisements; (d) the Faxes did not contain the required Opt-Out

Notice; and (e) Defendants’ transmission of advertisements that did not contain the required opt-

out notice or were sent without prior express invitation or permission was unlawful.

       37.     The Defendants’ actions caused damages to the Plaintiff and the other class

members. Receiving the Defendants’ junk faxes caused Plaintiff and the other recipients to lose

paper and toner consumed in the printing of the Defendants’ faxes. Moreover, the Defendants’

faxes used the Plaintiff's and the other class members’ telephone lines and fax machine. The

Defendants’ faxes cost the Plaintiff and the other class members time, as the Plaintiff and the

other class members and their employees wasted their time receiving, reviewing and routing the

Defendants’ unauthorized faxes. That time otherwise would have been spent on the Plaintiff's

and the other class members’ business activities. The Defendants’ faxes unlawfully interrupted

the Plaintiff's and other class members’ privacy interests in being left alone.




                                                 13
         Case 3:17-cv-01078-VAB Document 1 Filed 06/29/17 Page 14 of 15



                  Claim for Relief for Violation of Conn. Gen. Stat. § 52-570c

       38.     Conn. Gen. Stat. § 52-570c(a) provides that “[n]o person shall use a machine that

electronically transmits facsimiles through connection with a telephone network . . . to transmit

unsolicited advertising material . . . which offers to sell goods or services.”

       39.     Conn. Gen. Stat. § 52-570c(d) authorizes any person aggrieved by violations of

§ 52-570c(a) to bring a civil action requesting injunctive relief, $500 for each violation, and costs

and attorneys fees.

       40.     By Defendants’ conduct, described above, Defendants committed numerous

violations of Conn. Gen. Stat. § 52-570c(a) against Plaintiff and the members of Class B to wit:

the fax advertisements Defendant sent and/or caused to be sent to Plaintiff and the members of

Class B were unsolicited by Plaintiff and the members of Class B;

       41.     Accordingly, pursuant to Conn. Gen. Stat. § 52-570c(d), Plaintiff and the

members of Class C are entitled to injunctive relief, statutory damages in an amount to be

determined at trial, and the attorney’s fees and costs of this action.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, GORSS MOTELS, INC., individually and on behalf of all

others similarly situated, demands judgment in its favor and against Defendants, A.V.M.

ENTERPRISES, INC. and JOHN DOES 1-5, jointly and severally, as follows:

       A.      That the Court adjudge and decree that the present case may be properly

maintained as a class action, appoint the Plaintiff as the representative of the class, and appoint

the Plaintiff’s counsel as counsel for the class;

       B.      That the Court award actual monetary loss from such violations or the sum of five

hundred dollars ($500.00) for each violation of the JFPA, whichever is greater, and that the

Court award treble damages of $1,500.00 if the violations are deemed “willful or knowing”;

                                                    14
         Case 3:17-cv-01078-VAB Document 1 Filed 06/29/17 Page 15 of 15



       C.      That the Court award statutory damages of $500 per violation of Conn. Gen. Stat.

§ 52-570c, together with costs and attorney fees;

       D.      That Court enjoin the Defendants from additional violations of the JFPA and

Conn. Gen. Stat. § 52-570c; and

       E.      That the Court award pre-judgment interest, costs, and such further relief as the

Court may deem just and proper.

                                             Respectfully submitted,

                                             GORSS MOTELS, INC., individually and as the
                                             representative of a class of similarly-situated
                                             persons,

                                     By:      s/Ryan M. Kelly
                                             Ryan M. Kelly – ct30230
                                             Brian J. Wanca (pro hac vice to be submitted)
                                             ANDERSON + WANCA
                                             3701 Algonquin Road, Suite 500
                                             Rolling Meadows, IL 60008
                                             Telephone: 847-368-1500
                                             rkelly@andersonwanca.com
                                             bwanca@andersonwanca.com

                                             Aytan Y. Bellin ct28454
                                             BELLIN & ASSOCIATES LLC
                                             85 Miles Avenue
                                             White Plains, NY 10606
                                             Telephone: 914-358-5345
                                             Aytan.Bellin@bellinlaw.com




                                               15
